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                      UNITED STATES DISTRICT COURT

                              DISTRICT OF IDAHO

 UNITED STATES OF AMERICA,
                                             Case No. 4:17-CR-00328-BLW
      Plaintiff,
                                             ORDER ALLOWING HOSPITAL
vs.                                          VISIT BY DETAINED PERSON

 TRAVIS M. NEWBOLD,

      Defendant.


       This matter came before the Court on the 19th day of July, 2018, pursuant

to the Defendant’s Second Motion for Release from Custody (Dkt. 26), and

subsequent email request by defense counsel. The Court having considered the

pleadings and record on file, and noting the objection from the Assistant U.S.

Attorney to the release of Defendant from custody (Dkt. 29), grants the

Defendant’s modified request for a hospital visit by Defendant, under custodial

supervision of the U.S. Marshal Service, to the hospital where his father, F.N., is

in critical condition. The allowed visit of Defendant shall be conducted consistent

with the policies and procedures of the U.S. Marshal Service for a visit by a

detained person to a relative in danger of immediate harm or death.

       IT IS HEREBY ORDERED, AND THIS DOES ORDER, that Defendant

be allowed a visit to his father at Portneuf Medical Center in Pocatello, Idaho, at a




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time and under the conditions provided by the policies and procedures of the U.S.

Marshal Service.

                                                DATED: July 19, 2018


                                                _________________________
                                                Candy W. Dale
                                                United States Magistrate Judge




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